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 8                            UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               No. CR 23-258-DMG

11             Plaintiff,                    ORDER DISMISSING INDICTMENT
                                             PURSUANT TO FEDERAL RULE OF
12                  v.                       CRIMINAL PROCEDURE 48(a) [273]
13   SAI ZHANG, et al.,

14             Defendants.

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          IT IS HEREBY ORDERED that the Indictment as against all
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     defendants, filed in this matter, is dismissed without prejudice.
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     This Order applies to all defendants, namely, defendants SAI ZHANG,
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     PANYU ZHAO, PEIJI TONG, CHENGWU HE, HANG SU, XUANYI MU, JIAYONG YU,
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     SHUO YANG, XIAOLEI YE, and JIAXUAN HE, and this order applies only to
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     this case, namely, Case No. CR 23-258-DMG.        All hearing dates are
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     VACATED in Case No. CR 23-258-DMG.
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     DATED:   March 21, 2025
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                                                         DOLLY M. GEE
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26                                           Chief
                                                ef United
                                                      ted States District Judge
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